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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA,            )
                                     )
      v.                             )
                                     ) Crim. Action No. 21-0110 (ABJ)
ADAM HAGEMAN,                        )
                                     )
                  Defendants.        )
____________________________________)


                      DUE PROCESS PROTECTIONS ACT ORDER

        Pursuant to the Due Process Protections Act, the Court hereby ORDERS that all

government counsel who have entered their appearances in this case or who do so in the future

must review their disclosure obligations under Brady v. Maryland, 373 U.S. 83 (1963), and its

progeny, as set forth in Local Criminal Rule 5.1, and comply with those provisions. The failure to

comply could result in the dismissal of the indictment or information, dismissal of individual

charges, exclusion of government evidence or witnesses, continuances, Bar discipline, contempt

proceedings or sanctions, and/or any other remedy that is just under the circumstances.




                                             AMY BERMAN JACKSON
                                             United States District Judge

DATE: November 30, 2021
